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                      UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,

                      Plaintiff,
              vs.                           JUDGMENT OF DISMISSAL
DAVID VALENZUELA (02)

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) of:     21 USC 952, 960, AND 963


          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 10/09/12


                                            UNITED STATES DISTRICT JUDGE



                                            ENTERED ON
